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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________________

UNITED STATES OF AMERICA,



                                      Plaintiff,

                                                                     ORDER

                                                                     05-CR-6161L

                       v.

JOHN NICOLO, DAVID FINNMAN,
and CONSTANCE ROEDER,



                              Defendants.
________________________________________________


       As I indicated at our last court session on February 15, 2008, I requested an opportunity to

review the Government’s Power Point presentation prior to its display to the jury. I did this in an

effort to protect the defendants to prevent impermissible matters from being displayed to the jury,

prematurely.

       I see no evidentiary issues with much of the presentation. I do, however, believe that those

slides that show actual items of physical evidence should not be displayed to the jury in opening

statement. There are several slides where actual checks or invoices are contained on the slide. Of

course, none of those checks or invoices are in evidence, and I believe it is improper to present the

actual exhibits in opening statement. They could be summarized as to what the Government expects
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to prove, but to show the actual exhibits prior to their receipt in evidence is not proper and those

slides should be removed or changed.

       IT IS SO ORDERED.



                                      _______________________________________
                                               DAVID G. LARIMER
                                             United States District Judge


Dated: Rochester, New York
       March 3, 2008.




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